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 5                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
 6 Attorneys for Defendant Bradley Land Company                      BY handy      DEPUTY CLERK



 7

 8                              UNITED STATES BANKRUPTCY COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                            NORTHERN DIVISION
11 In re                                                Case No. 9:19-bk-11573-MB

12 HVI CAT CANYON, INC.,                                Chapter 11

13                    Debtor.                           Adv. Pro. Case No. 9:20-ap-01011-MB

14
   MICHAEL A. McCONNELL, CHAPTER 11                     ORDER GRANTING STIPULATION FOR
15 TRUSTEE,                                             EXTENSION OF TIME FOR DEFENDANT
                                                        BRADLEY LAND COMPANY ONLY TO
16                    Plaintiff,                        FILE A RESPONSE TO PLAINTIFF’S
                                                        COMPLAINT
17           vs.

18 DONNA JEAN AANERUD, an individual;
   RICHARD W. ACKERMAN, Trustee; JANE
19 A. ADAMS, an individual; JOHN S. ADAMS,
   an individual; CHARLES C. ALBRIGHT,
20 Trustee Under Trust of 5/20/76; OTHER
   DEFENDANTS LISTED ON EXHIBIT “1”
21 HERETO and DOES 1-100,

22                    Defendants.

23

24           The Court, having considered the Stipulation for Extension of Time for Defendant Bradley
25 Land Company Only to File a Response to Plaintiff’s Complaint between Plaintiff Michael A.

26 McConnell, chapter 11 trustee (“Plaintiff”) and Defendant Bradley Land Company to extend the
27 deadline for Defendant Bradley Land Company only to file and serve a response to the Complaint

28 in the referenced adversary action [Adversary. Proc. Docket No. 17],
     1203166.1
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 1           IT IS HEREBY ORDERED that:

 2           1.     The Stipulation is approved; and

 3           2.     The deadline for Defendant Bradley Land Company only, and no other defendant

 4 in this action, to file and serve a response to the Complaint is extended to March 6, 2020, without

 5 prejudice to a further extension if circumstances so warrant.

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     Date: February 24, 2020
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     1203166.1
